251 F.2d 819
    Mary Kathryn SMITH, Appellant,v.UNITED STATES of America, Appellee.
    No. 16475.
    United States Court of Appeals Fifth Circuit.
    January 30, 1958.
    Rehearing Denied February 25, 1958.
    
      Charles W. Tessmer, Dallas, Tex., for appellant.
      William N. Hamilton, Asst. U. S. Atty., Minor Morgan, Asst. U. S. Atty., Dallas, Tex., Heard L. Floore, U. S. Atty., Fort Worth, Tex., for appellee.
      Before TUTTLE, JONES and BROWN, Circuit Judges.
      PER CURIAM.
    
    
      1
      The appellant appeals from a conviction under the Dyer Act, 18 U.S.C.A. Sec. 2313, of selling in Dallas, Texas, two automobiles which had been stolen in Wichita, Kansas, and which she knew had been stolen. The questions raised are not, in our opinion, substantial, and the errors, if any there were, at the trial, were harmless. The evidence was more than sufficient to sustain the verdict of guilt. The judgment appealed from is
    
    
      2
      Affirmed.
    
    